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 6
                            UNITED STATES DISTRICT COURT
 7
                          SOUTHERN DISTRICT OF CALIFORNIA
 8                               SAN DIEGO DIVISION
 9   LYNN LAING,                            )
                                            )
10
                  Plaintiff,                ) Case No.: 3:17-cv-00633-DMS-WVG
                                            )
11         v.                               ) ORDER ON JOINT MOTION TO
                                            ) DISMISS
12
     WELLS FARGO BANK, N.A.,                )
                                            )
13           Defendant.                     )
                                            )
14                                          )
                                            )
15

16
                                           ORDER
17

18         Upon good cause shown, this Honorable Court GRANTS the parties Joint Motion
19
     to Dismiss. It is ORDERED this case is dismissed without prejudice, both sides to bear
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21
     their own fees and costs.

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     Dated: June 13, 2017
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